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LAW OFFICE OF ROBERT J. GUMENICK, PC
Robert J. Gumenick (RG 4199)
160 Broadway
Suite 1100
New York, New York 10038
Tel.: (212) 608-7478

Counsel to Uzi Evron, Roni Abud and, Doron Kessel

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:
                                                                 Case No.: 08-12667 (AJG)
Boaz Bagbag,
                                                                 Chapter 7
                           Debtor.
-------------------------------------------------------------X

    RESPONSE TO APPLICATION OF THE UNITED STATES TRUSTEE FOR
 APPROVAL OF STIPULATION AND PROPOSED ORDER DISMISSING DEBTOR’S
                         CHAPTER 7 CASE

        Uzi Evron, Roni Abudi, Doron Kessel and Asher Alcobi (collectively, “Movants”),

creditors and parties-in-interest in the above-captioned case, by and through their attorney

Robert J. Gumenick, Esq., as and for their response to the Motion of the United States Trustee

for an order approving a Stipulation and Proposed Order Dismissing the Debtor’s Chapter 7

case, represent and allege as follows:

  BACKGROUND OF THE TRUSTEE’S MOTION AND THE MOVANTS’ POSITION

        This case is a companion case filed on the same day with Case No. 08-12666 (MG) in

which the Debtor’s wholly owned business, Pace Product Solutions, Inc. initially filed under

Chapter 11. That case was converted to a case under Chapter 7 on July 24, 2008 by order of

Bankruptcy Judge Glen (ECF 24). On July 31, 2008, the court so ordered a stipulation in that

case modifying the automatic stay to permit Summa Capital Corporation (“Summa”) to foreclose


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on its collateral, which consisted of virtually all of its assets (ECF 31). Thereafter, Summa took

possession of the Debtor’s business premises and completed the sale of the collateral and, upon

information and belief, the debtor and the Debtor, as guarantor, remain liable to Summa for sums

well in excess of $1,000,000.00. Pace no longer conducts business.

       After advising of various irregularities in the Debtor’s transactions, creditors Uzi Evron,

Roni Abudi and Doron Kessel (the “Movants”) sought leave to take examinations of the Debtor

and other individuals under Bank. R. 2004. Pursuant to the Order of this Court dated September

8, 2008 (the “Order”), this Court granted the Movant’s motion and authorized the issuance of

subpoenas to compel the Debtor’s and other parties examination and to compel the production of

documents.

       Upon the issuance of the Order, subpoenas decus tecum were served upon the parties

named in the Order. Examinations of the Debtor, his accountant Mark Goldberg, his attorney

Jason Levine, his bookkeeper Larry Katz and his business associate Heby Abraham were held.

Responses to the Movants’ document requests were provided by Messrs. Levine and Goldberg.

The Debtor provided a partial response to the document request and failed to respond to follow

up requests. The Debtor has not produced its personal or business bank records and statements

as requested. The “Quickbooks” records have not been produced in a form that is able to be

reviewed by the Movants.

       The following subpoenaed parties have not appeared: Shimon Avitan, Jeffrey M.

Janklovits, Jim Matta, and Ruby Abramov a/k/a Rabah Abramov. It is believed that Mr.

Abramov is a silent partner with the Debtor in numerous transactions, and that Mr. Avitan is a

strawman used by the Debtor with the purpose of concealing assets. Jeffrey Janklovitz has

agreed to be deposed at a later date. No response has been obtained from Mr. Matta.

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       It was also discovered that the Debtor has received business origination capital in a

number of transactions from one Drori Benamin (sic), whose name was unknown to the Movants

prior to the examinations.

              RESULTS OF THE MOVANT’S RULE 2004 EXAMINATIONS

       From the depositions conducted and the documents received, the following salient facts

and circumstances were discovered:

1.             The Debtor testified that he owns 100% of the stock of a company called V.I.P.

       Car Service, Inc. (“VIP”) to which 19 Lincoln Towncars and four other limousines are

       currently registered according to the results of an investigative report The Debtor owns

       or leases a Cadillac Escalade, the source of which has not been disclosed. VIP’s

       business is the leasing of said limousines to drivers, who then hook-up with a base to take

       fares. The Debtor refused to disclose the physical location of this company, its

       employees and telephone number, the location of the cars; the location of the bank

       account and the location of the books and records of the company. It was also

       discovered that said Drori Benamin provided VIP startup capital and that the cars were

       financed. The Debtor has refused to testify as to the amount of the loans outstanding to

       the company and the status of Mr. Benamin’s involvement. The Debtor refuses to

       indicate if the company still owns cars and if it still conducts business. The Movants are

       owed about $95,000.00 from the Debtor and VIP for investments in the company made in

       August, September and October, 2006.

               A direct inquiry with VIP resulted in an investigator being told that all cars but

       one were presently leased out on a weekly basis, but that cars when available were leased

       to drivers for $500 per week.    The investigator also was told that Pace traded auto parts

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      in exchange for repairs to VIP owned vehicles. This conduct mirrors the fact that loan

      repayments to investors in VIP were paid by checks drawn on Pace in 2005 and 2006.

2.           The Debtor asserted in earlier sworn testimony that he is and always has been the

      owner 100% of Pace Product Solutions, Inc. (“Pace”). However, one Rabah Abramov is

      listed as the sole shareholder in Pace’s 2005 and 2006 federal returns. The Debtor

      refuses to disclose his relationship with Mr. Abramov and the amount owed to him and

      how his equity stake in Pace was satisfied. Mr. Abramov refuses to honor the subpoena

      served upon, despite his acknowledging service to the Movants.

             It was also discovered that the Debtor and Mr. Abramov are involved in one and

      possibly two condominiums in Aventura, Florida. Photocopies of checks payable to the

      Debtor in August, 2006 from Pine Projects, LLC totaling $327,000.00 were obtained

      with regard to the Aventura apartments. The Debtor’s testimony regarding the checks

      and ownership on the units was evasive and inconclusive, it being impossible to learn

      from the Debtor the source of funds to obtain the apartments and the present status of the

      investments or his relationship with Mr. Abramov in connection with these and other

      investments.

             As noted below, certain other transactions involve companies which, upon

      information and belief, are controlled by Rabah Abramov, such as Even Auto.

3.           Public records indicate that judgments were rendered against Pace and Bagbag in

      the Supreme Court, New York County for $168,750.00 and for $61,779 in November and

      December, 2007. These judgment stem from Pace’s failure to pay notes due to Pace

      Auto Parts, Inc., a company which sold Pace the assets located at its West 48th Street

      location in 2006.   The landlord of West 48th Street is Sirota Holdings, a company also

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       controlled by the seller. Documents produced by the Debtor’s attorney show that Pace

       surrendered that location to its landlord in December, 2007 for a payment of $325,000

       and the release from certain liabilities. Contrary to custom, the payout was transmitted

       to the Debtor’s attorney’s IOLA account. The Debtor’s attorney provided evidence of

       wire transfers from his IOLA account in the amount of $131,458.98 and $94,000.00 to

       unnamed parties and checks for $25,000.00 to Pace on January 29, 2008 and on February

       11, 2008, $34,491.00 to Pace on March 5, 2008, and $15,000.00 to Pace on March 17,

       2008. About $26,000 is unaccounted for, in addition to the wire transfers mentioned in

       the previous sentence.

              An order of protection was rendered by the Hon. Karla Moskowitz in favor of the

       plaintiff in that action, Robin Fuchs Matta against the Debtor on May 17, 2007. This

       request for an order of protection is consistent with concerns arising from conversations

       that the Movants have had with the Debtor’s “associates” following their seeking Rule

       2004 examinations in this case.

              As noted below, the use of the Debtor’s attorney’s trust account as a

       clearinghouse for numerous payments due to the Debtor or Pace was a technique utilized

       on at least two other occasions for amounts of aggregating at least $900,000.001. These

       funds may have been paid directly to the IOLA account in order to protect them from

       claims of creditors in not less than nineteen separate lawsuits by trade creditors, credit

       card accounts, vendors and suppliers from 1995 through 1998.


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       These funds include (i) $325,000 for the Sirota lease surrender, (ii) approximately
$175,000 for the investment by Alcobi in Pace; (iii) $150,000 from the refinancing of
Commonwealth Avenue and (iv) $86,000 from the Movants’ investments in the 11th Avenue
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4.           In or about May, 2007 Pace acquired the inventory of Flash Sales, Inc. at 122

      School Street, Yonkers, New York, along with an interest in the company which owns

      the land and the warehouse located at the same address. As in the earlier acquisition on

      West 48th Street, a down payment was paid to the seller and notes were given for the

      balance. Pace immediately defaulted on the notes.      In this case, the source of Pace’s

      down payment for the inventory was its secured creditor, Summa Capital Corp, to whom

      Pace presently owes in excess of $1,000,000 after giving credit to the liquidation of its

      inventory. Pace alleged, as it did with respect to the purchase from the 48th Street seller,

      that the inventory was not correct and this constituted a complete defense to the payment

      of the notes. A conversation with Pace’s attorney in that case disclosed that he withdrew

      on the grounds, among other things, that Pace could not provide any detailed account of

      the deficiencies in the inventory so to allow him to prosecute the action.

               In his deposition testimony on July 20, 2008, the Debtor indicated that Pace was

      in poor financial condition because, among other things, of carrying two locations.

      However, the two locations were carried only for two months. The Debtor at about the

      same time convinced an investor, Asher Alcobi, to pay about $175,000.00 for a one third

      interest in Pace based upon the Debtor’s written assurances that the business was

      financially solvent and throwing off sufficient income to pay the investor a weekly

      salary, health insurance and bonus. However, the investor received no payout from Pace

      from the date of his investment to the date of Pace’s Chapter 11 filing.

5.           The Debtor has refused to turn over the bank records of Pace.       While he asserts

      that they were left at the School Street property when it was turned over to the trustee,

      the trustee’s accountants assert that the banking records were missing from the drawers

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      marked with the names of the bank records when they took possession of the premises.

      As noted below, the Movants seek leave to subpoena these records.

6.           In late 2007 and early 2008, the Debtor received about $90,000.00 from the

      Movants to invest in a store lease at 790 11th Avenue in Manhattan. The transaction was

      not completed and the money never returned to the Movants despite demand.

      Documents obtained show that the money was held in the Debtor’s attorney’s IOLA

      account and then disbursed by the attorney to Pace ($15,000.00), Bagbag ($25,000.00),

      Bagbag’s former wife ($10,000.00), a creditor OK Petroleum Distribution Corp.

      ($28,227.18) OK’s attorney ($1,500.00), and the Debtor’s attorney ($2,500.00).

7.           The Debtor mortgaged the property which it owned through a separate entity at

      1351 Commonwealth Avenue, Bronx, New York in January, 2008. The proceeds of the

      financing were again funneled into the IOLA account of the Debtor’s attorney.      Prior to

      the financing, the property was transferred in at least two separate “no consideration”

      transfers to companies in which the Debtor’s “associates” were involved. The

      $250,000.00 face amount loan was disbursed by the attorney on April 2, 2008 to Pace

      ($15,269.00); to Levine on April 2, 2008 ($5,000.00) with the balance unaccounted for.

      Like the other transfers from the IOLA account, these transactions need to be examined

      to see if they are recoverable by the estate.

8..          The Debtor was a principal of a company known as MHAP Inc. or Mazel Hai

      Auto Parts from approximately 1995 to 2005, when the company was abandoned after

      the Debtor was indicted in December, 2004 on state charges of auto parts counterfeiting

      which case, upon information and belief, has not been finally resolved. The Debtor’s

      financial obligations arising from the dissolution of this company have not been

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      disclosed. Pace commenced the same line of business as MHAP shortly after the

      indictment.

9.            A deposition of Pace’s bookkeeper was taken and it was indicated that there were

      several accounts at Pace which were handled only by the Debtor. One account involving

      a large New Jersey based automobile retailer and parts supplier which, with another

      customer whose account was also exclusively handled by the Debtor, was used for bulk

      discount purchasing in combination with contra-accounts resulting only in payments to

      the automobile retailer and supplier and the other customer, with no or few transactions,

      upon information and belief, being balanced in favor of Pace. The bookkeeper’s

      testimony was that it was unusual in his view for this account, and others, to be

      personally handled by the Debtor out of the ordinary course. Despite demand for

      production, no records relating to this account have been produced, it being suspected

      that the contra-accounts were never properly balanced and that a detailed examination

      would disclose possible improper transactions, which, upon information and belief, are in

      the range of $500,000.00.

10.           A copy of a financial statement of the Debtor was provided showing value in

      Peninsula Apartments in Aventura, Florida of $1,200,000.00; in Mazel Hai Auto Parts of

      $250,000; four cars of $120,000 and $150,000 in cash. The statement also showed

      $4,000,000 in life insurance. The Debtor’s testimony regarding this financial statement

      was evasive and not productive.

11.           Documents show that the Debtor has two social security numbers and lives at an

      address that is not the address listed on the petition.   The Debtor tendered numerous

      Pace and personal checks immediately prior to and post bankruptcy which were, upon

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       information and belief, never honored, among which is a May 27, 2008 personal check

       for $86,000; an August, 1, 2008 check for $61,198 and a check dated September 1, 2008

       for $61,198, all on his personal account at Chase.

12.            The Debtor’s lifestyle and spending habits are currently not consistent with his

       stated financial position. These questionable expenses include numerous donations to

       synagogues and political campaigns, as well as first class airfare to Israel and five star

       hotel expenses that are inconsistent with the Debtor’s testimony of his current assets,

       including two Manhattan rental apartments, indoor Manhattan parking, weekly cleaning

       service and other spending.

                                      CONCLUSION

       From the foregoing and other information obtained by the Movants, it appears likely that

the Debtor has improperly transferred substantial funds and made substantial preferences that

can be recovered in this case.

       Rather than dismiss the proceeding, the Movants believe that the court should properly

allow the Movants to compel the testimony of Rabah Abramov and the other non-responding

recipients of the movant’s subpoenas and permit the issuance of a subpoena deuces tecum to

Drori Benamin,. as well as permitting the issuance of a subpoena to JPMorgan Chase Bank for

the Debtor’s banking records. In addition, the Debtor should be required to comply with

document requests made by the Movants’ attorney by letters dated October 31, 2008 and

November 5, 2008 and and not responded to by the Debtor’s counsel which documents are

essential for the completion of the Movants’ review of the Debtor’s financial affairs.




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         For the foregoing reasons, it is respectfully urged that the Trustee’s motion to dismiss not

be granted at this time and that the Movants be permitted to schedule a timetable for continuing

Rule 2004 examinations and making such further motions and applications as may be

appropriate upon the conclusion of the same.

Dated:      New York, New York
            November 18, 2008

                                    LAW OFFICE OF ROBERT J. GUMENICK, PC

                                    By:    /s/ Robert J. Gumenick

                                           Robert J. Gumenick (RG 4199)
                                           160 Broadway
                                           Suite 1100
                                           New York, New York 10038
                                           (212) 608-7478

                                    Counsel to Uzi Evron, Roni Abudi and Doron Kessel




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